
689 S.E.2d 374 (2009)
STATE of North Carolina
v.
John WALSTON.
No. 200P09.
Supreme Court of North Carolina.
December 10, 2009.
John Walston, pro se.
E. Michael Heavner, Assistant Attorney General, for State of NC.
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant-Appellant on the 8th of May 2009 in this matter pursuant to G.S. 73A-30 (substantial constitutional question), the *375 following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed by order of the Court in conference, this the 10th of December 2009."
Upon consideration of the petition filed on the 8th of May 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of December 2009."
